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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.:

  UNITED STATES OF AMERICA,

                Plaintiff,

  vs.

  REAL PROPERTY LOCATED AT
  900 BISCAYNE BLVD UNIT #6107,
  MIAMI, FLORIDA 33132,

              Defendant In Rem.
  _______________________________________/

              NOTICE OF VERIFIED COMPLAINT FOR FORFEITURE IN REM
                            AGAINST REAL PROPERTY

  To:   NATHALIE BOUMBA PEMBE, AND ALL OTHER PERSONS WHO MAY CLAIM
         INTEREST IN THE DEFENDANT PROPERTY

         1.     DATE OF NOTICE: June 12, 2020

         2.     FORFEITURE COMPLAINT: On June 12, 2020, the United States of America

  filed a Verified Complaint for Forfeiture In Rem seeking forfeiture, pursuant to 18 U.S.C. § 981,

  in the United States District Court for the Southern District of Florida against the defendant

  property commonly known as 900 Biscayne Blvd Unit #6107, Miami, Florida 33132, legally

  described as follows:

              Condominium Parcel No. 6107 in 900 BISCAYNE BAY, a
              Condominium, according to the Declaration thereof recorded
              April 23, 2008 in Official Record Book 26340, Page 0882, of
              the Public Records of Miami-Dade County, Florida, as
              amended and/or supplemented from time to time, together with
              an undivided interest in the common elements appurtenant
              thereto.

              a/k/a 900 Biscayne Boulevard #6107, Miami, FL 33132-1729
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           PARCEL IDENTIFICATION NO.: 01-3231-069-3350


           3.    FILING OF A VERIFIED CLAIM:                   Pursuant to Rule G(5)(a)(ii) of the

  Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, in order to

  avoid forfeiture of the defendant property, any person who asserts an interest in the defendant

  property must file a verified claim within 35 days after the date of this notice or the date of

  delivery, if personally served.

           4.    CONTENTS OF VERIFIED CLAIM: Pursuant to Rule G(5)(a), the claim must

  (A) identify the specific property claimed; (B) identify the claimant and state the claimant’s interest

  in the property; and (C) be signed by the claimant under penalty of perjury (see 28 U.S.C. § 1746).

           5.    FILING OF AN ANSWER: If you file a verified claim, you must then file an

  answer to the complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure within

  20 days after filing the verified claim.

           6.    FILING WITH COURT AND SERVICE ON UNITED STATES: The verified

  claim and answer must be filed with the Office of the Clerk, United States District Court for the

  Southern District of Florida, Wilkie D. Ferguson Jr., U.S. Courthouse, 400 North Miami Avenue,

  Room 8N09Miami, FL 33128, and a copy of the claim and answer or motion must be sent to

  Adrienne Rosen, Assistant United States Attorney, 99 NE 4th Street, 7th Floor, Miami, Florida

  33132.

           7.    In accordance with 18 U.S.C. § 985(c)(1)(B), this Notice shall be posted on the

  defendant property and served on the property owner, along with a copy of the Verified Complaint

  for Forfeiture In Rem.




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         Failure to follow the requirements set forth above may result in judgment by default

  taken against you for the relief demanded in the Complaint. You may wish to seek legal

  advice to protect your interests.



  DATED: June 12, 2020                DEBORAH CONNOR, CHIEF
                                      MONEY LAUNDERING & ASSET RECOVERY
                                        SECTION

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